             Case 1:23-cv-03950-LGS Document 12 Filed 07/03/23 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------------X
MT. HAWLEY INSURANCE COMPANY,
                                                                    Case No. 1:23-cv-3950-LGS
                            Plaintiff,
                  v.
                                                                    AFFIDAVIT
AIM SECURITY GROUP, LLC,                                            OF SERVICE

                             Defendant.
----------------------------------------------------------------X

JOHN A. MATTOON, being of full age, hereby declares pursuant to 28 U.S.C. §1746:

        1.       I am a partner with the law firm of Ford Marrin Esposito Witmeyer & Gleser,

L.L.P., counsel to Mt. Hawley Insurance Company (“Mt. Hawley”) in this action, and as such, I

have knowledge of the facts set forth herein.

        2.       I provided defendant AIM Security Group, LLC (“AIM”) with notice of the

upcoming initial conference in this matter, and also caused an additional copy of Mt. Hawley’s

Summons & Complaint, with exhibits thereto, to be served on defendant AIM by placing a true

and correct copy of the foregoing notice and pleadings with Federal Express on June 30, 2023

with instructions for the foregoing to be delivered as follows:

                          AIM Security Group, LLC
                          11519 Meadowrun Circle
                          Fort Myers, FL 33913
        Case 1:23-cv-03950-LGS Document 12 Filed 07/03/23 Page 2 of 2




Dated: July 3, 2023
       New York, New York

                                   FORD MARRIN ESPOSITO WITMEYER
                                     & GLESER, LLP

                                   By:    /s/ John A. Mattoon
                                   Joseph D’Ambrosio
                                   John A. Mattoon
                                   Wall Street Plaza
                                   New York, NY 10005-1875
                                   Telephone: (212) 269-4900
                                   Attorneys for Plaintiff Mt. Hawley Ins. Co.




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